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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

  JOHN T. LAMONT and                   §
  PRESTON POULTER,                     §
                                       §
        Plaintiffs,                    §   Civil Action No. 3:21-CV-1176-K
                                       §
  v.                                   §
                                       §
  DEAN ASSAF A/K/A DA TALK             §   Judge Kinkeade
  VICTORIA KUNDERT A/K/A               §
  VIKKIVERSE, AND ETHAN VAN            §
  SCIVER.                              §
                                       §
        Defendants.                    §


                     DEFENDANT ETHAN VAN SCIVER’S
                  MOTION TO DISMISS AND BRIEF IN SUPPORT
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           Defendant Ethan Van Sciver (“Van Sciver”) respectfully moves the Court to dismiss

 this lawsuit against him because: (1) the Court lacks personal jurisdiction over him pursuant to

 Fed. R. Civ. P. 12(b)(2); and (2) because the First Amended Complaint, Doc. No. 6, fails to

 state a claim upon which relief can be granted under Fed. R. Civ. P. 12(b)(6).

 I.        INTRODUCTION

           As Plaintiffs allege in the First Amended Complaint, Van Sciver is a resident of New

 Jersey where he grew up. He has worked in the comic book industry for decades, including at

 DC Comics and more recently as an industry commentator, at all times while residing in New

 Jersey.    As an industry commentator, Van Sciver has developed and used a trademark,

 COMICSGATE. Recently, Plaintiff Preston Poulter has used and claimed a right to this

 trademark.

           Plaintiffs are independent comic book creators who have filed this suit against Van

 Sciver in connection with two comments Van Sciver made during one online broadcast where

 he said he did not want his trademark placed on material that he deemed graphic and

 inappropriate. The comments were made during an online show broadcast on YouTube during

 which Van Sciver’s COMICSGATE mark and Plaintiffs’ work called “The Demonatrix” were

 discussed. Van Sciver was a guest participant on that single YouTube broadcast, a 1 hr. 8 min.

 “livestream” (broadcast to approximately 750 viewers) on April 25, 2021. 1 Notably, during the




 1
   The live stream is available online at
 <https://www.youtube.com/watch?v=PqjGXuJuVcg&t=2793s>
 (indicating 757 views when last visited on 8/3/2021).
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 livestreamed discussion, Defendants displayed Plaintiffs’ own drawing, 2 which enabled

 viewers to form their own opinions about whether the material was graphic.

        Plaintiffs allege only two statements made by Mr. Van Sciver were defamatory:

        (1) “I don’t want Preston to make child pornography and put Comicsgate on it.”

 and,

        (2) “In order to have a trademark you have to protect it. I will not allow it to be
        put on child pornography by Preston Poulter.”

 Am. Compl., Doc. No. 6, at 8, ¶18. Based on these two statements Plaintiffs allege a host of

 damages. Mr. Poulter alleges, “on Kickstarter, former customers refused to support him citing

 his association with a ‘pedophile’” and that Mr. Poulter will “continue to suffer pain and mental

 anguish” since the remarks “have been disseminated into a large part of the community of comic

 book professionals and enthusiasts.” Id. at 15, ¶1.f. Yet, as shown below, the Kickstarter

 campaign was cancelled before the allegedly defamatory statements were made.

        Mr. Lamont makes similar damages allegations, adding Kickstarter “declined to approve

 his next book project” and “has shut him out with unprecedented demands.” Id. at 16, ¶2.b.

        Critically, Plaintiffs have not alleged any facts that establish that this Court has personal

 jurisdiction over Van Sciver, and dismissal of the claims against him is therefore warranted.

 Further, the claims Plaintiffs have alleged against Van Sciver do not state a claim upon which

 relief can be granted because the alleged damages were incurred prior to the alleged defamation




 2
   As independent comic book creators, Plaintiffs must obtain their own funding and had
 apparently sought funding for “The Dominatrix” by crowdfunding on the platform
 Kickstarter.
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 and Plaintiffs fail to plead all elements of their claims. Accordingly, Van Sciver requests the

 Court dismiss this suit against him because (1) this Court lacks personal jurisdiction over him,

 and (2) Plaintiffs have failed to state a claim upon which relief can be granted.

 II.      FACTUAL BACKGROUND

          The alleged defamation stems from a comic book discussion on the YouTube channel

 entitled “VikkiVerse” hosted by Defendant Victoria Kundert and co-hosted by Defendant Dean

 Assaf on April 25, 2021. Like many YouTube channels, it preserved this broadcast in the public

 record, word for word, which allows the reproduction of the allegedly defamatory statements,

 in context, as they occurred. 3

          The context shows that Defendants accurately portrayed Plaintiff’s as comic book

 creators and even displayed the image from Plaintiffs’ Kickstarter campaign for the comic in

 question, “The Demonatrix.” Viewers of the livestream saw for themselves exactly what

 Plaintiffs were producing, a cartoon drawing, and would have easily recognized that the use of

 the phrases “child pornography” and “pedophiles” was merely hyperbolic descriptions of the

 cartoon drawing.

          The discussion involving Plaintiffs began with a discussion about Defendant Van

 Sciver’s efforts to trademark the word COMICSGATE and to discredit Preston Poulter’s claims

 to the mark. During this discussion, the hosts played pre-recordings of both Mr. Poulter and Mr.

 Van Sciver discussing the trademark issue. The image below of Plaintiffs’ comic, “The




 3
     Available online at <https://www.youtube.com/watch?v=PqjGXuJuVcg&t=2793s>

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 Demonatrix,” the subject of this defamation lawsuit, appeared during this discussion. Appendix

 (“Appn”) at 3-6, Ex. 1.




         From 16:22 to 16:51 (The image above, from Plaintiffs’ Kickstarter campaign, appears

 at 16:44. Nudity redaction in the original. Logo detail, at the right, is added for clarity.)

         MR. VAN SCIVER (prerecorded):

         So COMICSGATE is trademarked and feel free. As long as

         you abide by the principles and rules, the standards

         that we all kind of understand COMICSGATE is, there’s

         going to be no problem. If you want to publish child

         pornography under the COMICSGATE banner, that’s gonna be

         a   problem.       Or    anything        like     that.     And     in,    in    that

         instance I will come down and exercise my trademark and

         protect the trademark.

         From 30:10 to 30:38 (Mr. Van Sciver joins the livestream in person):

         Mr. Assaf:

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        (crosstalk). . . want to hear your side of things,

        Mr. Van Sciver:

        Well, I mean you know my side of things, fortunately, I,

        you know I talk about almost everything pretty openly on

        my channel. But I mean, you know my side of things is

        that is that it’s pretty demonstrable that COMICSGATE

        has been used in commerce by me and me alone, up until

        Preston decided he would try to spite trademark the term.

        From 33:26 to 34:11:

        MR. VAN SCIVER:

        . . . I just don't think anybody is going to get very

        upset and think that I'm, you know, coopting a movement.

        All of those accusations have already been made and put

        into play, and they amounted to nothing. So I just, I

        don't want Preston to make child pornography and put

        COMICSGATE on the label. You know what I mean?”

        At 46:24 to 46:33:

        MR. VAN SCIVER:

        In order to have a trademark you do have to protect it. So

        I will protect it in that way. I will not allow it to be

        put on child pornography by Preston Poulter.

 Appn at 3-6, Ex. 1.



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        As demonstrated above, Mr. Van Sciver was discussing his efforts to protect his

 trademark COMICSGATE against an improper use by Plaintiffs. The improper use was

 prominently displayed during the discussion.

 III.   LEGAL STANDARDS

        A.      Request for Judicial Notice

        To the extent the Court references the above livestream excerpts and the attachments to

 this motion when deciding the motion, Van Sciver respectfully requests this Court take judicial

 notice of those materials because those are specifically referenced and incorporated into

 Plaintiffs’ First Amended Complaint. In particular, Plaintiffs refer to the livestream as the

 source of defamation and statements in the livestream. The other documents also expand on

 items directly referred to in the complaint, the Plaintiff’s “The Demonatrix” campaign on

 Kickstarter and Kickstarter as a party before whom Plaintiffs’ reputation has been damaged.

 Thus, the campaign and the basic facts about Kickstarter, its location, are also incorporated, by

 reference, into the complaint and not matters outside of the pleadings.

        Under such circumstances the Court can properly take judicial notice. See e.g. Basic

 Capital Mgmt., Inc. v. Dynex Capital, Inc., 976 F.3d 585, 589 (5th Cir. 2020). The livestream

 and the three exhibits are obtained from public records and are not subject to reasonable dispute.

 Their content “can be accurately and readily determined from sources whose accuracy cannot

 reasonably be questioned.” Id. (quoting Fed. R. Evid. 201(b)).

        B.      Personal Jurisdiction Exists When a Defendant Purposefully Avails
                Himself of the Privilege and Benefits of the Forum.

        As the United States Supreme Court recently stated, “a tribunal's authority depends on

 the defendant's having such “contacts” with the forum State that “the maintenance of the suit”

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 is “reasonable, in the context of our federal system of government,” and “does not offend

 traditional notions of fair play and substantial justice.” Ford Motor Co. v. Mont. Eighth Judicial

 Dist. Court, 141 S.Ct. 1017, 1024 (2021).

         In order to establish personal jurisdiction in a diversity case over an out-of-state

 defendant, the plaintiff must present prima facie evidence that “(1) the long-arm statute of the

 forum state creates personal jurisdiction over the defendant; and (2) the exercise of personal

 jurisdiction is consistent with the due process guarantees of the United States Constitution.”

 Hawbecker v. Hall, 88 F.Supp.3d 723, 727 (W.D. Tex. 2015) (citing Clemens v. McNamee, 615

 F.3d 374, 378 (5th Cir.2010)).

         “Because Texas's long-arm statute reaches to the constitutional limits,” it is only

 necessary to assess if the Court's exercise of personal jurisdiction offends due process. Id. (citing

 Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 413–14 (1984)). Due process

 is satisfied when (1) the “defendant has purposefully availed himself of the benefits and

 protections of the forum state by establishing minimum contacts with the forum state and (2)

 the exercise of jurisdiction over that defendant does not offend traditional notions of fair play

 and substantial justice.” Hawbecker, 88 F.Supp.3d at 727.

         Minimum contacts are found, supporting specific personal jurisdiction “when the

 defendant's contacts with the forum arise from, or are directly related to, the cause of action.”

 Revell v. Lidov, 317 F.3d 467, 470 (5th Cir. 2002).

         One State's “sovereign power to try” a suit may prevent “sister States” from exercising

 their like authority. The law of specific jurisdiction seeks to ensure that States with “little

 legitimate interest” in a suit do not encroach on States more affected by the controversy. Ford

 Motor Co., 141 S.Ct at 1025 (citations omitted).
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         C.      A Plaintiff Must Plead Plausible Claims to Avoid a Rule 12(b)(6)
                 Dismissal.

         “To survive a [Rule 12(b)(6)] motion to dismiss, a complaint must contain sufficient

 factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

 v. Iqbal, 556 U.S. 662, 678 (2009). A facially plausible claim “pleads factual content that allows

 the court to draw the reasonable inference that the defendant is liable,” and “[t]hreadbare recitals

 of the elements of a cause of action, supported by mere conclusory statements, do not suffice.”

 Id.; see also Elliott v. Foufas, 867 F.2d 877, 881 (5th Cir. 1989). “[C]onclusory allegations”

 and “unwarranted deductions of fact” “will not suffice to prevent” dismissal. U.S. ex rel.

 Willard v. Humana Health Plan of Tex. Inc., 336 F.3d 375, 379 (5th Cir. 2003) (citing Guidry

 v. Bank of LaPlace, 954 F.2d 278, 281 (5th Cir.1992).

 IV.     ARGUMENTS AND AUTHORITIES

         A.      Internet Contacts from a “Passive Website” Are Not Sufficient to
                 Establish Personal Jurisdiction.

         Plaintiffs’ First Amended Complaint does not allege that Van Sciver has any contacts

 with this forum. The only contact Defendants have with this forum is via the Internet, which is

 a tenuous contact at most. The Fifth Circuit applies a “sliding scale” test, described in Zippo

 Manufacturing Co. v. Zippo Dot Com, Inc., 952 F.Supp. 1119 (W.D.Pa.1997), to decide whether

 a defendant has sufficient minimum contacts with the forum state via the internet. Hawbecker

 v. Hall, 88 F.Supp.3d 723, 727 (W.D. Tex. 2015). The test requires an examination of the extent

 of the interactivity and nature of the forum contacts and categorized internet use into a spectrum.

 Id. At one end is a “passive” website that merely allows the owner to post information. This

 contact will not be sufficient to establish personal jurisdiction. Id. On the other hand, personal

 jurisdiction will be proper in cases at the other end of the spectrum where the site owners engage
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 in repeated online contacts with forum residents over the internet. Id. The middle cases require

 an examination of the extent of the interactivity and nature of the forum contacts. Id.

        B.      Van Sciver Has No Contacts with Texas.

        As the First Amended Complaint states, neither Mr. Van Sciver, nor any other

 defendant, lives in Texas or has had any significant contact with Texas. The alleged defamatory

 video is not directed to Texas. The participants did not interact with anyone from Texas. They

 talked among themselves.

        Viewing this discussion required the unilateral activity (carried out by about 750

 listeners) of those who tuned in by specifically seeking out the content on this particular

 YouTube channel. This “unilateral activity” does not qualify as “purposeful availment” contacts

 necessary to justify personal jurisdiction. See, e.g., Burger King Corporation v. Rudzewicz, 471

 U.S. 462, 475 (1985) (“purposeful availment” requirement ensures that a defendant will not be

 haled into a jurisdiction solely as a result of "random," "fortuitous," or "attenuated" contacts or

 of the unilateral activity of another party or a third person) (citations omitted).

        Further, the alleged damage is not centered in Texas. In defamation cases, however

 scandalous a publication might be, it can lead to a loss of reputation only if communicated to

 third persons. Hawbecker, 88 F.Supp. at 731 (citing Walden v. Fiore, 134 S.Ct. 1115, 1124-25

 (2014)). Here, the only third party allegedly connected to Plaintiffs’ damages that supposedly

 heard the alleged defamation is Kickstarter. It, however, is a Delaware corporation with

 headquarters in Brooklyn, NY. See Appn 7-8, Ex. 2. Thus, the alleged damages do not occur

 in Texas.




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 V.     FAILURE TO STATE A CLAIM UNDER RULE 12(B)(6)

        A.      There Is No Nexus Between the Alleged Defamatory Video and the Alleged
                Damage Because (1) Plaintiffs’ Campaign Was Canceled Before the Video
                and (2) the Campaign Violated Terms of Service of the Hosting Website.

        Plaintiff’s Kickstarter campaign for “The Demonatrix” is cited seven times in the

 pleading. See Am. Compl., Doc. No. 6 at 3 (¶ b.(i), 4 (¶ b.(ii), 6 (¶¶ 11-13), 15 (¶¶ 2.a., 2.b)).

 A copy of the campaign is attached. See Appn 9-14, Ex 3. The exhibit shows that the Kickstarter

 campaign was not affected by the alleged defamation. It was canceled on March 16, 2021, over

 a month before the alleged defamation on April 25, 2021. Also, the campaign, which featured

 pornographic images, was likely canceled because it violated Kickstarter’s terms of service,

 which explicitly forbid pornography. Appn at 15, Ex. 4 (Kickstarter’s “Prohibited Items”).

        At most only about 750 people viewed the video, Plaintiffs fail to allege a nexus between

 the video and a significant circulation of the alleged defamatory statements which would lead

 to the alleged stalling of “poor sales” that “forced the campaign’s cancellation.”          Also,

 Plaintiffs’ allegations such as “Kickstarter has shut him down with unreasonable demands” are

 vague and not connected to the alleged defamatory video. Complaint at 4, ¶ b.(ii).

        B.      Opinions Are Not Actionable.

        Plaintiffs have failed to plead facts establishing the requisite elements of their claims

 against Van Sciver. To this end, Plaintiffs have not pled that Van Sciver made a statement of

 fact that was false and actionable defamation. 4 “[A] statement of opinion relating to matters of




 4
   The two allegedly defamatory statements made by Van Scriver do not relate to or involve
 Defendant John Lamont in any way. Thus, Lamont’s claims against Van Scriver must also be
 dismissed in addition to the reasons set forth in the body of this motion and brief.
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 public concern which does not contain a provably false factual connotation will receive full

 constitutional protection. In other words, if a statement cannot reasonably [be] interpreted as

 stating actual facts, it is shielded by the First Amendment. In re Enron Corp. Securities,

 Derivative, 511 F.Supp.2d 742, 819 (S.D. Tex. 2005) (quoting Milkovich v. Lorain Journal Co.,

 497 U.S. 1 (1990)).

        An image of Plaintiffs’ comic, The Demonatrix (see Am. Compl., Doc. No. 6, at p. 3

 ¶b.(i)), appeared in the livestream during a discussion of trademark rights. Defendants’

 statements were clearly opinions about that image. 5

        In addition to showing Plaintiffs’ actual drawings, the livestream contained several other

 statements making clear that Defendants were merely expressing their opinions. For example,

 Mr. Van Sciver describes a third party as “an actual . . . child pornographer” indicating

 Plaintiffs, who are comic book artists, are not “actual” child pornographers. Also, Mr. Van

 Sciver’s statement, “I don’t want Preston to make child pornography” suggests that Plaintiff

 Poulter is currently not making child pornography. The statement is merely Van Sciver’s

 opinion that he would not want pornography on his COMICSGATE label.

        The fact that Defendants displayed the image is fatal to Plaintiffs cause of action in

 another way. As the Fourth Circuit noted, “[b]ecause the bases for the . . . conclusion are fully

 disclosed, no reasonable reader would consider the term anything but the opinion of the author

 drawn from the circumstances related.” Chapin v. Knight-Ridder, Inc., 993 F.3d 1087, 1093 (4th




 5
   The Supreme Court has held fictional depictions of children neither obscene nor child
 pornography. Ashcroft v. Free Speech Coalition, 535 U.S. 234 (2002) (holding statute
 prohibiting fictional pornographic images of children overbroad and unconstitutional).
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 Cir. 1993). See also Dodds v. ABC, Inc., 145 F.3d 1053, 1067 (9th Cir. 1998) (an opinion “based

 on an implication arising from disclosed facts is not actionable when the disclosed facts

 themselves are not actionable”).

         Finally, we note the obvious, the video was on the YouTube channel “VikkiVerse” and

 was viewed by about 750 people. There is no allegation that the channel held itself out as a

 source of “facts” like a news broadcast, or even a YouTube news channel. No reasonable person

 would cite to a quote on “VikkiVerse” as a factual authority.

 VI.     CONCLUSION

         For the reasons above, Defendant Ethan Van Sciver moves this Court to dismiss him

 from this suit because the Court lacks personal jurisdiction under Rule 12(b)(2) and to dismiss

 this suit in its entirety because it fails to state a cause of action under Rule 12(b)(6).




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 Date: August 4, 2021               Respectfully submitted,


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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record for Plaintiffs are being

 served with a copy of this document, including the attachments, via the Court’s CM/ECF

 system on August 4, 2021.

                                                        /s/   Thomas J. Adair




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